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    In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                         No. 18-917V
                                    Filed: March 18, 2019

* * * * * * * * * * * * * *
JESSICA SOBCZYK, on behalf of I.S., *
a minor,                            *
                                    *                      Dismissal; Pneumococcal Conjugate
          Petitioner,               *                      Vaccine; Rotavirus Vaccine;
                                    *                      Diphtheria-Tetanus-acellular Pertussis
v.                                  *                      (“DTaP”) Vaccine; Haemophilus
                                    *                      Influenzae B (“Hib”) Vaccine;
SECRETARY OF HEALTH                 *                      Inactivated Poliovirus (“IPV”)
AND HUMAN SERVICES,                 *                      Vaccine; Seizures; Encephalopathy
                                    *
          Respondent.               *
* * * * * * * * * * * * * *

Mark Sadaka, Esq., Mark T. Sadaka, LLC, Englewood, NJ, for petitioner.
Julia Collison, Esq., U.S. Dept. of Justice, Washington, DC for respondent.

                                               DECISION1

Roth, Special Master:

        On June 26, 2018, petitioner filed a petition for Vaccine Compensation in the National
Vaccine Injury Compensation Program (“the Program”),2 on behalf of her minor child, I.S.
Petitioner alleges that I.S. received pneumococcal conjugate, rotavirus, diphtheria-tetanus-
acellular pertussis (“DTaP”), haemophilus influenzae b (“Hib”), and inactivated poliovirus
(“IPV”) vaccinations on July 31, 2015, and thereafter developed seizures and an encephalopathy.

1
 Although this Decision has been formally designated “unpublished,” it will nevertheless be posted on the
Court of Federal Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). This means the Decision
will be available to anyone with access to the internet. However, the parties may object to the Decision’s
inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party
has fourteen days within which to request redaction “of any information furnished by that party: (1) that is
a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will be available to the public. Id.
2
 The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660,
100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act” or “the
Act”). Hereafter, individual section references will be to 42 U.S.C. § 300aa of the Act.
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See Petition, ECF No. 1. The information in the record, however, does not show entitlement to an
award under the Program. On March 15, 2019, petitioner filed a Motion for Dismissal Decision
requesting that her case be dismissed. ECF No. 17.

         To receive compensation under the Program, petitioner must prove either 1) that I.S.
suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury Table – corresponding
to her vaccinations, or 2) that she suffered an injury that was actually caused by a vaccine. See §§
13(a)(1)(A) and 11(c)(1). An examination of the record did not uncover any evidence that I.S.
suffered a “Table Injury.” Further, the record does not contain persuasive evidence indicating that
I.S.’s alleged injury was vaccine-caused or in any way vaccine-related.

        Under the Act, petitioner may not be given a Program award based solely on the petitioner’s
claims alone. Rather, the petition must be supported by either medical records or by the opinion
of a competent physician. § 13(a)(1). In this case, because there are insufficient medical records
supporting petitioner’s claim, a medical opinion must be offered in support. Petitioner, however,
has offered no such opinion that supports a finding of entitlement.

        Accordingly, it is clear from the record in this case that petitioner has failed to demonstrate
either that I.S. suffered a “Table Injury” or that her injuries were “actually caused” by a
vaccination. Thus, this case is dismissed for insufficient proof. The Clerk shall enter judgment
accordingly.

       IT IS SO ORDERED.

                                                       s/ Mindy Michaels Roth
                                                       Mindy Michaels Roth
                                                       Special Master




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